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                     EXHIBITB
Case 8:16-cv-01440-JLS-DFM Document 104-2 Filed 02/20/19 Page 2 of 7 Page ID #:889                            6




                                                                           80 North Main St.. P.O. Box 351
  Attorneys and Counselors at Law                                          Ellenville, NY 12428
                                                                           Telephone (845) 647-8509
                                                                           Facsimile (845) 647-6277
                                                                           Email: Assistant@Signallaw.com

  *Wayne D. Lonstein                                                       Christopher Hufnagel
  Julie Cohen Lonstein

  *also adm itted in NJ, PA &MA
                                           June 26, 2015




  Oneida's Beauty & Barber Salon
  Attn: Doneyda Perez
  12342 Harbor Blvd
  Garden Grove, CA 92840




                                                   ATTORNEY WORK PRODUCT- FOR SETILEMENT
                                                   PURPOSES ONLY- NOT TO BE USED IN LITIGATION



  Re:      ,DIRECTV, LLC v . Oneida's Beauty & Barber Salon, et al.
            Our File No. HS15-18CA-05
            Unauthorized Exhibition of DIRECTV Programming
            Date of Audit: April 8, 2015


  Dear Ms. Perez,

  In furtherance of today's correspondence with our office, I have attached the proposed Settlement
  Agreement. This Agreement may not be changed without written approval.

  This settlement is contingent upon funds being received on or before 07/06/2015, in accordance with the
  agreement terms. Failure to receive funds timely and in full will result in abandonment of the settlement
  and our client retains the right to pursue the claims for their full entitlement under the law, including
  attorney's fees.

  Kindly return the executed Settlement Agreement via fax at 845-647-6277 or by email to
  assistant@signa llaw.com and the payment of $500.00 on or before 07/06/2015. You may call the office
  to make a debit or credit card payment over the phone or submit payment using an alternative method,
  given below:

        1. Wire Funds: please see attached wiring instructions

        2. ACH Direct Debit: Please see authorization form attached to fill out and return with a copy of a
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          void check by fax or email no later titan 5:00pm E.S.T, at least 1 business day prior to your
          scheduled pCNment due date.

      3. Credit Card: please go to the following secure link to complete the transaction:

         https://payl.plugnpay.com/bpl/dtvllo (note: this website does not accept American Express
         cards.)
      4. American Express: please see authorization form attached for you to fill out and return by fax or
         email. Once you have returned the authorization form, please contact our office to make the
         payment.

      5. Certified Checks: to be made payable to: LONSTEIN LAW OFFICE, P.C.. as attorneys.

      6. PayPal: please go to www.paypal.com and send payments to pay@signallaw.com.

  Upon receipt of payment in full, a letter stating the file is closed along with the original fully executed
  Agreement will be sent to you after all tenns of the Agreement are fulfilled.

  Thank you for your assistance and courtesies herein.

  Warm Regards,

  Angelina Mullen, Legal Assistant
  Lonstein Law Office, P.C.
  80 N. Main St; P.O.,Box 351
  Ellenville, NY 12428
  amullen@signallaw.com
  Office: 845-647-8509 Ext. 319
  Fax: 845-647-6277
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                                     SETTLEMENT AGREEMENT

                   IT IS HEREBY STIPULATED AND AGREED by and between the attorneys for
   DIRECTV, LLC. (the "Claimant"), and Oneida's Beauty & Barber Salon located at 12342 Harbor
   Blvd, Garden Grove, CA 92840, and its owners, shareholders, employees and agents (the
   "Establishment"), that all claims resulting from Establishment's unauthorized commercial misuse and
   display of DIRECTV Programming Services as of the date herein, are settled and the Establishment
   agrees to pay the sum of $5,000.00 in full settlement and satisfaction of this matter:


           I. Said sum shall be paid as follows:
                   (a) The full sum of$5,000.00, by an initial payment in the amount of $500.00 on or
                   before July 6, 2015 via certified funds, credit card, direct account debit (ACH), or wire
                   transfer to the escrow account for the attorney for the claimant.
                   (b) The remainder sum of $4,500.00 shall be paid to Lonstein Law Office, P.C., as
                   attorney for DIRECTV, by recurring payments in the amount of $500.00 via certified
                   funds, credit card, direct account debit (ACH), wire transfer or PayPal for a period of 9
                   installments on day 6 of each consecutive month.
                    (c) If paying by wire, wiring instructions are attached.
                   (d) For payments via ACH direct debit, attached please find payment authorization for
                   your client to fill out and return..
                    ( e) If paying by credit card, please go to the following secure link to complete the
                   transaction:
                    https://pay l .plugnpay .com/bpl/dtvllo (Note: this website does not accept American
                    Express cards)
                    (f) If paying by American Express, please see authorization form attached for you to fill
                    out and return by fax or email. Once you have returned the a!-!thorization form, please
                    contact our office to make the payment.
                    (g) If paying by certified check, payment shall be made payable to LONSTEIN LAW
                    OFFICE, P.C., as attorney, at 80 North Main St, P.O. Box 351, Ellenville, New York
                    12428 and is subject to collection.
                    (h) If paying by PayPal, go to wv..-w.paypal.coin and send payment to
                    pay<aasignalla w .com


           2. INTENTIONALLY OMITTED.
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           3. For the sole consideration of the payment of$5,000.00, Claimant hereby releases
   Establishment, its owners, employees and agents and the Establishment hereby releases Claimant, its
   agents, parents, subsidiaries, predecessors, successors, and attorneys from any and all liabilities, actions,
   causes of action, suits, debts, dues, sums of money, account$, bonds, executions, claims and/or demands,
   whether fixed or contingent, known or unknown, and/or of any kind and/or nature whatsoever, which
   either Claimant or Establishment or its owners ever had, now has or may have, specifically limited to any
   and all claims which were and/or could have been asserted herein. The Parties agree and understand that
   this Agreement is a Release of a claim brought against Oneida's Beauty & Barber Salon or any of its
   owners, shareholders, employees, and agents for the commercial misuse of DIRECTV Programming
   and DOES NOT INCLUDE or contemplate any release of obligations under this Agreement or claims of
   DIRECTV that are predicated upon Oneida's Beauty & Barber Salon or any of its owners,
   shareholders, employees, or agents failure to pay any sum due to DIRECTV pursuant to any existing
   subscription agreement(s) with DIRECTV in existence as of the date of this agreement.


           4. The Establishment hereby expressly warrants and represents that:

                    A.      The only consideration for executing this Agreement and for paying the total sum
                    of $5,000.00, is DIRECTV's agreement to resolve the Dispute;


                    B.      No promise, warranty, or representation of any kind has been expressed or implied
                    to the Establishment by Claimant, or by anyone acting for it, except as is expressly stated
                    in this Agreement. Further, the Establishment is not relying upon any advice of the
                    Claimant, or representatives, as to the legal consequences of this Agreement.


                    C.      The Establishment acknowledges displaying DIRECTV Programming in the
                    establishment. Establishment recognizes that they have no lawful right to the exhibition
                   of DIRECTV programming within Establishment which is not authorized on customer's
                   conunercial DIRECTV account.


                   D.       The Establishment acknowledges that this Agreement creates no warranty or
                   representation of services on behalf of the Claimant as the provision of any and all services
                   is governed by service agreements between Claimant and its customers, as modified from
                   time to time.
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           5.   Each of the parties to this Agreement acknowledges that they have been informed of the
  provision of California Civil Code§ 1542, and each party expressly waives and relinquishes all rights
  which it or he had, has, may have had under that section, which reads as follows:


                   .,A general release does not extend to claims which the creditor does not know or suspect
                   to exist in his or her favor at the ti.me of executing the release, which if known by him or
                   her must have materially affected his or her settlement with the debtor."


           The parties to this Agreement acknowledge that they are aware that they may hereafter discover
  facts or law different from or in addition to those which they know or believe to be true with respect to
   the subject matter of this Agreement, or that they may have claims which, at the time of the execution of
  this Agreement, they have no knowledge or suspicion, or that the loss or damage presently known or
  claimed may be or become greater than they now expect or anticipate. The parties agree that their
  releases shall be and remain in effect at to the matters released, notwithstanding such unknown or
  unanticipated results, or such additional facts or law.


           6. In the event that the Establishment defaults in the terms of this Agreement by failing to make
  any payment by the dates specified in paragraph l above, Claimant may, without notice or demand,
  declare the entire principal sum then unpaid irrunediately due and payable. In the case of such a default,
  this settlement Agreement will be abandoned in favor of seeking the full amount of statutory damages if
   not cured after ten (10) days written notice to establishment of the breach with an opportunity to cure.
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           7. The signatories to this Agreement specifically representtbatthey have full authority to enter
   into same. Furthermore, both Claimant and Establishment have had the opportunity to seek the benefit of
   legal counsel to explain the contents, terms, provisions, or effects of this Agreement and, whether or not
   either party has taken advantage of that opportunity, both parties are satisfied that they fully understand the
   provisions of this Agreement and its effects.


   AGREED to this_ day of the month of _ _ _ _ _ _ _ __ , 2015.

   DIRECTV, LLC.                               Oneida's Beauty & Barber Salon



   By: _ __ _ __ _ __                          By:
     Julie Cohen Lonstein, Esq.
                                                   - -- - - - -- -- - -- -
                                               Print Name:_ _ _ _ _ __ _ __ _
     Lonstein Law Office, P.C.                    Oneida's Beauty & Barber Salon
     Attorneys for DirecTV                        12342 Harbor Blvd
     Office and P.O. Address                      Garden Grove, CA 92840
     80 N. Main St: P.O. Box 351
     Ellenville, New York 12428
     Telephone: (845) 647-8500
      Email: iuli e@siITTiallaw.co,m
